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 1   COUNSEL IDENTIFICATION ON FINAL PAGE

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 4                                 UNITED STATES DISTRICT COURT

 5                             EASTERN DISTRICT OF CALIFORNIA

 6

 7
     NATURAL RESOURCES DEFENSE                  Case No. 1:05-cv-01207 LJO-EPG
 8   COUNCIL, et al.,
                                                STIPULATION AND ORDER TO FILE A
 9                   Plaintiffs,                FIFTH SUPPLEMENTAL COMPLAINT
10           v.
11   SALLY JEWELL, in her official capacity
     as Secretary of the Interior, et al.,
12
                     Defendants.
13

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15   SAN LUIS & DELTA MENDOTA
     WATER AUTHORITY, et al.,
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                     Defendants-Intervenors.
17

18   ANDERSON-COTTONWOOD
     IRRIGATION DISTRICT, et al.,
19
                     Joined Parties.
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                                                           STIPULATION AND ORDER TO FILE A FIFTH
                                                                       SUPPLEMENTAL COMPLAINT
                                                                    CASE NO. 1:05-CV-01207 LJO-EPG
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 1                                               RECITALS

 2          WHEREAS, on October 20, 2016, the Court dismissed Plaintiffs’ Second Claim for Relief

 3   “on the ground that this Court lacks subject matter jurisdiction over the Second Claim for relief

 4   because certain allegations in the claim are moot and because Plaintiffs have failed to comply with

 5   the ESA’s 60-day notice requirement as to any non-moot allegations,” Doc. 1045 (“10/20/16

 6   Order”) at 25;

 7          WHEREAS, the Court has not yet issued a final ruling on motions filed on June 20, 2016

 8   by the Sacramento River Settlement Contractors and Federal Defendants to dismiss the Fifth and

 9   Sixth Claims for Relief (Doc. 1031 & 1032);

10          WHEREAS, on November 14, 2016, Plaintiffs mailed to Defendants Secretary of Interior

11   and Commissioner of Bureau of Reclamation a 60-day notice (“2016 Notice Letter”) asserting

12   alleged violations of the Endangered Species Act, see Doc. 1055-11.

13          WHEREAS, on January 19, 2017, Plaintiffs filed a Motion for Reconsideration or, in the

14   Alternative, Leave to Supplement the Complaint, see Doc. 1055;

15          WHEREAS, Plaintiffs’ alternative motion for leave seeks to supplement the complaint for

16   the limited purpose of reviving the Second Claim as it pertains to Reclamation’s reliance on the

17   2015 reinitiated consultation, and adding an allegation pertaining to the 2016 Notice Letter, see

18   Docs. 1055-1 (proposed Fifth Supplemental Complaint), 1055-12 (redlined version of proposed

19   Fifth Supplemental Complaint);

20          WHEREAS, Plaintiffs acknowledge that the Court has ruled that the allegations in
21   paragraphs 173 and 174 of the Fourth Supplemental Complaint pertaining to the 2005 Smelt

22   OCAP Biological Opinion are moot, see 10/20/16 Order at 20, 25, and Plaintiffs confirm that their

23   motion does not seek reconsideration of that ruling and that Paragraphs 173 and 174 are included

24   in the proposed Fifth Supplemental Complaint for background informational purposes only;

25          WHEREAS, Defendants oppose Plaintiffs’ motion for reconsideration but do not oppose

26   Plaintiffs’ motion in the alternative for leave to file a Fifth Supplemental Complaint, subject to
27   Plaintiffs’ acknowledgement and confirmation of the Court’s mootness ruling regarding

28   paragraphs 173 and 174 of the Fourth Supplemental Complaint (now paragraphs 175 and 176 of
                                                            STIPULATION AND [PROPOSED] ORDER TO FILE A FIFTH
                                                  1                               SUPPLEMENTAL COMPLAINT
                                                                                CASE NO. 1:05-CV-01207 LJO-EPG
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 1   the proposed Fifth Supplemental Complaint), and subject to a reservation of Defendants’ rights to

 2   assert additional affirmative defenses and/or a motion to dismiss with respect to the Second Claim;

 3           WHEREAS, the parties agree that it would be in the interests of judicial efficiency to avoid

 4   further briefing on Plaintiffs’ Motion for Reconsideration or, in the Alternative, Leave to

 5   Supplement the Complaint; and

 6           WHEREAS, the Plaintiffs agree to withdraw their Motion for Reconsideration or, in the

 7   Alternative, Leave to Supplement the Complaint, see Doc. 1055, upon the Court’s approval of the

 8   accompanying Order;

 9                                             STIPULATION

10           NOW THEREFORE, counsel for Plaintiffs and Defendants hereby stipulate to Plaintiffs

11   filing the proposed Fifth Supplemental Complaint and accompanying exhibits, currently found at

12   ECF Document Nos. 1055-1 through 1055-8, without prejudice to Defendants’ rights to assert

13   additional affirmative defenses and/or a motion to dismiss with respect to the Second Claim for

14   Relief. The Fifth Supplemental Complaint, subject to the Court’s approval, shall be filed following

15   the Court’s ruling on the pending motions to dismiss, and that ruling shall be applicable to the Fifth

16   Supplemental Complaint.

17
     DATED: February 15, 2017                        Barbara J. Chisholm              .
18                                                  Barbara J. Chisholm
19                                                  HAMILTON CANDEE (SBN 111376)
                                                    BARBARA JANE CHISHOLM (SBN 224656)
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                                                             STIPULATION AND [PROPOSED] ORDER TO FILE A FIFTH
                                                   2                               SUPPLEMENTAL COMPLAINT
                                                                                 CASE NO. 1:05-CV-01207 LJO-EPG
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 6                                      Attorneys for Plaintiffs

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     DATED: February 15, 2017           /s/ Nicole M. Smith (as authorized on Feb. 15, 2017)
 8                                      Nicole M. Smith

 9                                      U.S. DEPARTMENT OF JUSTICE
                                        ENVIRONMENT & NATURAL RESOURCES
10                                      DIVISION
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12                                      Facsimile: (202) 305-0275

13                                      Attorneys for Respondents Sally Jewell, in her official
                                        capacity as Secretary of the Interior, et al.
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15   DATED: February 15, 2017           /s/ Meredith Nikkel (as authorized on Feb. 15, 2017)
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                                        Attorneys for Intervenors and Joined Party
20                                      Defendants Reclamation District No. 108, Sutter
                                        Mutual Water Company, Natomas Central Mutual
21
                                        Water Company, River Garden Farms Company,
22                                      Pleasant Grove-Verona Mutual Water Company,
                                        Pelger Mutual Water Company, Meridian Farms
23                                      Water Company, Henry D. Richter, et al., Howald
                                        Farms, Inc., Oji Brothers Farm, Inc., Oji Family
24                                      Partnership, Carter Mutual Water Company,
                                        Windswept Land And Livestock Company, Maxwell
25
                                        Irrigation District, and Tisdale Irrigation and
26                                      Drainage Company

27
     DATED: February 15, 2017           /s/ Andrew Hitchings (as authorized on Feb. 15, 2017)
28                                      Andrew Hitchings
                                                 STIPULATION AND [PROPOSED] ORDER TO FILE A FIFTH
                                        3                              SUPPLEMENTAL COMPLAINT
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 7                                      Princeton-Codora-Glenn Irrigation District,
                                        Provident Irrigation District, Anderson-Cottonwood
 8                                      Irrigation District, City Of Redding, M & T Chico
                                        Ranch (Pacific Realty Associates), Reclamation
 9                                      District No. 1004, Conaway Preservation Group,
                                        LLC, and David and Alice te Velde Family Trust
10

11
     DATED: February 15, 2017           /s/ Daniel J. O’Hanlon (as authorized on Feb. 15,
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19                                      Party Defendants, San Luis & Delta-Mendota Water
                                        Authority, Westlands Water District, Coelho Family
20                                      Trust, Eagle Field Water District, Fresno Slough
                                        Water District, Mercy Springs Water District, Oro
21                                      Loma Water District, and Tranquillity Irrigation
                                        District
22

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                                                STIPULATION AND [PROPOSED] ORDER TO FILE A FIFTH
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 1                                                  ORDER

 2             Pursuant to the Parties’ Stipulation, the Court hereby GRANTS Plaintiffs leave to file the

 3   proposed Fifth Supplemental Complaint, currently found at ECF Document Nos. 1055-1 through

 4   1055-8.

 5
     IT IS SO ORDERED.
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 7       Dated:      February 17, 2017                       /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
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                                                             STIPULATION AND [PROPOSED] ORDER TO FILE A FIFTH
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                                                                                 CASE NO. 1:05-CV-01207 LJO-EPG
